 Case 1:06-cr-00005-SPM-AK       Document 83      Filed 02/14/07    Page 1 of 1




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                             CASE NO.: 1:06-CR-005-SPM

CAROLINE PARRA,

     Defendant.
_______________________________/

                     ORDER CONTINUING SENTENCING

      THIS CAUSE comes before the Court upon the “Defendant’s Unopposed

Motion to Continue Sentencing” (doc. 82) filed February 12, 2007. Defendant

requests a continuance of sentencing in order to complete her cooperation with

the Government, which is unopposed to the granting of the motion.

      Finding good cause for the postponement, it is

      ORDERED AND ADJUDGED as follows:

      1.     The motion to continue sentencing (doc. 82) is granted.

      2.     Sentencing is reset for Monday, April 2, 2007 at 1:30 pm at the

             United States Courthouse in Gainesville, Florida.

      DONE AND ORDERED this fourteenth day of February, 2007.


                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
